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 5
                                UNITED STATES BANKRUPTCY COURT
 6                              NORTHERN DISTRICT OF CALIFORNIA
 7                                       SAN FRANCISCO DIVISION
 8
 9   _______________________________________
     In Re:                                  Case No. 10-33514 TEC
10
     PETER NGUYEN                                     CHAPTER 11
11
                    Debtor-in-Possesssion,            DEBTOR’S SECOND AMENDED
12                                                    CHAPTER 11 PLAN
13
                                                       Date: Jul 8th, 2011
14                                                     Time: 9:30 AM
                                                       Court: Hon Thomas E. Carlson
15                                                            235 Pine St, 23rd Floor
16                                                            San Francisco, CA

17
                                              INTRODUCTION
18
           This second Amended Chapter 11 plan of reorganization (the Plan) provides for the
19
20   restructuring of the debts of Peter Nguyen. If confirmed, the Plan will bind all creditors provided for

21   in the Plan, whether or not they file a proof of claim or accept the Plan, and whether or not their
22   claims are allowed.
23
           All creditors should refer to Parts 1 – 4 of the Plan for information regarding the precise
24
     treatment of their claims. A disclosure statement that provides additional information is being
25
     circulated with the Plan. The disclosure statement is descriptive and explanatory only; the language
26
27   used in the Plan is binding. Your rights may be affected. You should read these papers carefully

28   and discuss them with your attorney, if you have one.

                                                       1
     AMENDED CHAPTER 11 PLAN


     Case: 10-33514        Doc# 116      Filed: 06/12/11     Entered: 06/12/11 18:38:24         Page 1 of
                                                      17
 1   PART 1: SECURED CREDITORS
 2
           Class 1a-1b – One West Bank (Primary Residence) - Unimpaired.
 3
           One West Bank is owed approximately $708.586 which is secured by a deed of trust in first
 4
 5   position on the Debtor’s residence (3 Skyline Dr, Daly City, CA). Debtor is $10,836 in Arears
 6
     payments to One West Bank. Debtor will continue to make the regular monthly payment pursuant to
 7
 8   the terms of the note. Debtor will pay the $10,836 arrears payment on the effective date of the Plan.

 9
     Wells Fargo shall retain its lien in the same order and priority it had prior to the filing. Wells Fargo
10
11   Bank is Unimpaired.

12
      Name of       Description of      Amount      Estimated       Interest        Monthly Payment
13    Creditor      Property            Due         Value of        Rate
                                                    Property
14
15                                                    *Primary
                                                                                    $2,552 per month for
                                                      residence.       7% As
      Class 1a:     3 Skyline Dr,                                                   the remaining months
16                                                  Secured claim   agreed on the
      OneWest       Daly City, CA                                                   of the mortgage
                                        $708,586     of OneWest        original
17    Bank (Acct    94015 (primary                                                  contract, $752
                                                     of $708,586      mortgage
      # 8069)       residence)                                                      property tax and $65
                                                     remains the      contract
18                                                       same
                                                                                    insurance

19                                                                                  $10,836 Arrears
                                                      *Primary
20                                                                  7% plus late    payment due ($1097
                                                      residence.
      Class 1b:     3 Skyline Dr,                                      fees as      for 12/1/10, $3,246
                                                    Secured claim
21    OneWest       Daly City, CA                                   agreed on the   for 12/10, $3,246 for
                                        $10,836      of OneWest
      Bank (Acct    94015 (primary                                     original     1/11 and $3,246 for
                                                     of $708,586
22    # 8069)       residence)                                        mortgage      2/11) will be paid on
                                                     remains the
                                                                      contract      the effective date of
23                                                       same
                                                                                    the Plan
24
25         Classes 1c-1d (California Properties). Pay Value of Collateral over Time.

26         Debtor will pay the amount of the underlying debt that is equal to the value of the collateral.
27   Debtor will pay that amount with interest from the Effective Date of the Plan through monthly
28

                                                        2
     AMENDED CHAPTER 11 PLAN


     Case: 10-33514        Doc# 116      Filed: 06/12/11      Entered: 06/12/11 18:38:24         Page 2 of
                                                      17
     payments as set forth below. Payments will be due on the 10th day of the month, starting on the
 1
 2   effective date.

 3    Name of          Description of    Amount     Estimated       Interest        Monthly Payment
      Creditor         Property          Due        Value of        Rate
 4                                                  Property
 5
                                                                     Adjustable
                                                    Secured claim                   $1,470 per month for
 6                                                                    Mortgage
      Class 1c:                                        of Wells                     the remaining months
                       872 Beechwood                                Rate starting
 7    Wells Fargo                                   Fargo Bank of                   of the mortgage
                       Dr, Daly City,    $619,988                   7/1/2005 and
      Bank (Acct                                      $619,998                      contract ($450
                       CA 94015                                        ending
 8    # 9321)                                        remains the                    property tax and $55
                                                                     6/15/2035
                                                         same                       insurance)
 9
10    Class 1d:                                                                     $1,584 per month for
                       6230 Laird Ave,
      Wells Fargo                                                    5% for 360     360 months, $292
                       Oakland, CA       $295,000     $295,000
11    Bank (Acct                                                      months        property tax $33
                       94605
      # 5017)                                                                       insurance
12
13
           All Motions to Value Collateral and Motions to Avoid Lien have been filed and duly noticed to
14
     all affected secured creditors/lienholders. The Court has granted Orders to all applicable Motions
15
     filed as of this date. Lienholder will retain its lien until the secured debt is paid in full. Upon
16
17   completion of the payments to the lienholder, the debtor will be entitled to an order expunging or

18   voiding the lien. Except as modified by this plan, the terms of the lienholder’s note and lien will
19   remain the same.
20
           Creditors in this class may not possess or dispose of their collateral so long as Debtor is not in
21
     Material Default in performing its obligations under the Plan. Material Default is defined in Part
22
     This class is impaired and is entitled to vote on confirmation of the Plan. For instructions re voting
23
24   see the Disclosure Statement.

25         Classes 1e-1g (Las Vegas Properties). Pay Value of Collateral over Time.
26         Debtor will pay the amount of the underlying debt that is equal to the value of the collateral.
27
     Debtor will pay that amount with interest from the Effective Date of the Plan through monthly
28

                                                        3
     AMENDED CHAPTER 11 PLAN


     Case: 10-33514          Doc# 116     Filed: 06/12/11    Entered: 06/12/11 18:38:24          Page 3 of
                                                       17
     payments as set forth below. Payments will be due on the 10th day of the month, starting on the
 1
 2   effective date.

 3    Name of          Description of    Amount       Estimated    Interest Rate      Monthly Payment
      Creditor         Property          Due          Value of
 4                                                    Property
 5    Class 1e:    6209 Rodman            $269,000     $269,000       5% for 360      $1,444 per month for
      Wells Fargo Ridge Ct, Las                                         months        360 months, $292
 6    Bank (Acct # Vegas, CA 89131                                    (proposed       property tax $33
      3904)                                                          interest rate)   insurance
 7
      Class 1f:    6025 Chassington       $321,573     $321,573       5% for 360      $1,726 per month for
 8    Wells Fargo Ave, Las Vegas,                                       months        360 months, $292
      Bank (Acct # NV 89131                                           (proposed       property tax $33
 9    6837)                                                          interest rate)   insurance
10    Class 1g:        9794 W. Mesa       $192,481     $192,481       5% for 360      $1,033 per month for
      JPMorgan         Vista Dr, Las                                    months        360 months, $250
11
      Chase Bank       Vegas, CA 89148                                (proposed       property tax $33
12    (Acct #                                                        interest rate)   insurance
      9734)
13
14         If a lienholder disputes the value of the collateral stated above by Debtor, such lienholder must
15
     timely file an objection to confirmation, or the value stated by Debtor will be determined to be the
16
     value of the collateral. Such objection shall be accompanied by competent evidence of value, which
17
     need not include an appraisal. If the value of the collateral is disputed, the court, after consultation
18
19   with the parties, will schedule a hearing for determining value. Lienholder will retain its lien until

20   the secured debt is paid in full. Upon completion of the payments to the lienholder, the debtor will
21   be entitled to an order expunging or voiding the lien. Except as modified by this plan, the terms of
22
     the lienholder’s note and lien will remain the same.
23
           Creditors in this class may not possess or dispose of their collateral so long as Debtor is not in
24
     Material Default in performing its obligations under the Plan. Material Default is defined in Part 9.
25
26   This class is impaired and is entitled to vote on confirmation of the Plan. For instructions re voting

27   see the Disclosure Statement.

28   //
                                                        4
     AMENDED CHAPTER 11 PLAN


     Case: 10-33514         Doc# 116     Filed: 06/12/11      Entered: 06/12/11 18:38:24          Page 4 of
                                                      17
                              PART 2: GENERAL UNSECURED CREDITORS
 1
 2            Class 2(a). Small Claims.

 3            This class includes any creditor whose allowed claim is $17,000 or less, and any creditor
 4   whose allowed claim is larger than $17,000 but agrees to reduce its claim to $17,000. Each member
 5
     of this class shall receive on the Effective Date of the Plan a single payment equal to 22%
 6
     percent of that creditor’s allowed claim.
 7
      Name of Creditor                                      Amount of    Is Claim     Amount to be
 8                                                          Claim        Disputed     Paid
 9    Shadow Mountain Ranch HOA                                   $2,933      no              $645
      Torrey Pine Ranch HOA                                       $2,578     no                 $567
10
      American Express (Acct # 3000)                              $5,719     no               $1,258
11
      American Express (Acct # 2000)                               $918      no                 $202
12    Home Depot Credit Services (Acct # 1975)                    $1,787     no                 $393
13    American Express (Acct # 1007)                              $1,052     no                 $232

14    American Express (Acct # 1005)                              $1,052     no                 $232
      Hoan Nguyen                                                 $2,500     no                 $550
15
      Phuong Thao Thi Nguyen                                      $2,000     no                 $440
16
      Wells Fargo Bank (Acct # 6405)                              $3,513     no                 $773
17
      Wells Fargo Bank (Acct # 3709)                               $995      no                 $219
18    Wells Fargo Bank (Acct # 1496)                               $314      no                  $69
19    Wells Fargo Bank (Acct # 3691)                               $438      no                  $96
20    Wells Fargo Bank (Acct # 2149)                               $665      no                 $146

21    Chase Bank (Acct # 7056)                                   $14,314     no               $3,149
      B-Line LLC (Acct # 6521)                                   $10,098     no               $2,222
22
      Dept of Industrial Relations                                $9,395     no               $2,067
23    Home Depot Credit Services (Acct # 2442)                    $9,314     no               $2,049
24    Wells Fargo Bank (Acct # 1538)                             $14,481     no               $3,186
      Wells Fargo Bank (Acct # 3021)                             $16,645     no               $3,662
25
      Total                                                     $100,711                     $22,158
26
27
28

                                                      5
     AMENDED CHAPTER 11 PLAN


     Case: 10-33514         Doc# 116      Filed: 06/12/11    Entered: 06/12/11 18:38:24     Page 5 of
                                                       17
     Creditors in this class may not take any collection action against Debtor so long as Debtor is not in
 1
 2   Material Default in performing its obligations under the Plan. Material Default is defined in Part 9.

 3   This class is impaired and is entitled to vote on confirmation of the Plan. For instructions re: voting
 4   and objections to confirmation see the Disclosure Statement.
 5
           Class 2(b). General Unsecured Defficiency Claims.
 6
           Every other general unsecured creditor (including claims from rejected executory contracts)
 7
     shall be paid 10 percent of its allowed claim in 72 equal monthly installments. Payments will be
 8
 9   due on the 10th day of the month starting the month after the effective date of the plan.

10    Name of Creditor                               Amount of        Is Claim   Amount to       Monthly
                                                     Claim            Disputed   be Paid         Payment
11
      Wells Fargo Bank                                      $70,701      no             $7,070        $98
12    (Rental 1 - Beechwood, Daly City)

13    Wells Fargo Bank                                   $113,948        no            $11,395       $158
      (Rental 2 -Laird, Oakland)
14    Wells Fargo Bank                                   $172,477        no            $17,248       $240
15    (Rental 3 -Rodman Ridge, Las Vegas)
      Wells Fargo Bank                                   $145,963        no            $14,596       $203
16    (Rental 4 -Chassington, Las Vegas)
17    JPMorgan Chase Bank                                $154,154        no            $15,415       $214
      (Rental 5 -Mesa Vista, Las Vegas)
18
19   Total                                             $657,243                     $65,724        $913
     Creditors in this class may not take any collection action against Debtor so long as Debtor is not in
20
     Material Default in performing its obligations under the Plan. The lienholders in this class will be
21
22   subject to having their lien removed and vacated from the collateral upon satisfaction of their allowed

23   claim or completion of the payments accorded to the lienholder under this plan. Material Default is

24   defined in Part 9. This class is impaired and is entitled to vote on confirmation of the Plan. For
25   instructions re voting and objections to confirmation see the Disclosure Statement.
26
               PART 3: PRIORITY CLAIMS AND EXPENSES OF ADMINISTRATION
27
     (a) Professional Fees.
28

                                                        6
     AMENDED CHAPTER 11 PLAN


     Case: 10-33514        Doc# 116       Filed: 06/12/11      Entered: 06/12/11 18:38:24        Page 6 of
                                                       17
             Professional fees may be paid only upon application and approval by the Bankruptcy Court.
 1
 2           Holders of administrative claims for unpaid professional fees are not entitled to vote on

 3           confirmation of the Plan.
 4          (1) Debtor will pay the following professional fees in full on the Effective Date, or upon
 5
                approval by the court, whichever is later.
 6
      Name and Role of Professional                                             Estimated Amount
 7
 8    Michael H. Luu, Attorney for the Debtor, Peter Nguyen                                    $25,000

 9
            (2) The following professionals have agreed to accept payment in full over time without
10
                interest as follows. Payments will be made monthly, due on the 10th day of the month,
11
                starting on the effective date of the plan.
12
13    Name and Role of Professional                Estimated         Payment            Number of
                                                   Amount            Amount             Pymts
14    Michael H. Luu, Attorney for the             The balance of    $300 per month     until the court
      Debtor, Peter Nguyen                         the amount the                       approved
15                                                 court has                            balance is paid
                                                   approved for                         in full
16                                                 payment to the
                                                   professional
17                                                 which was not
18                                                 paid as of the
                                                   effective date
19
20         Administrative priority creditors may not take any collection action against Debtor so long

21   as Debtor is not in Material Default in performing its obligations under the Plan. Material
22   Default is defined in Part 9.
23
     (b) Other Administrative Claims.
24
           Debtor will pay other claims entitled to priority under section 503(b) in full on the Effective
25
     Date. Ordinary course of business payments will be made when due. Holders of administrative
26
27   claims are not entitled to vote on confirmation of the Plan.

28

                                                         7
     AMENDED CHAPTER 11 PLAN


     Case: 10-33514        Doc# 116       Filed: 06/12/11     Entered: 06/12/11 18:38:24      Page 7 of
                                                       17
 1
 2    Name of Creditor                                                       Estimated Amount of Claim
      (Other than ordinary course)
 3
 4    None                                                                   None

 5
           Administrative priority creditors may not take any collection action against Debtor so long
 6
 7   as Debtor is not in Material Default in performing its obligations under the Plan. Material Default

 8   is defined in Part 9.
 9   (c) Tax Claims.
10
             Debtor will pay claims entitled to priority under section 507(a)(8) in full over time with
11
      interest in equal amortizing payments in accordance with section 511 of the Bankruptcy Code.
12
      Payments will be made monthly due on the 10th day of the month starting on the effective date of
13
14    the plan. Holders of priority tax claims are not entitled to vote on confirmation of the Plan.

15    Name of Creditor                           Estimated            Statutory       Payment    Number
      (Other than ordinary course)               Amount of Claim      Interest        Amount     of Pymts
16                                                                    Rate
17    None                                       None                 None            None       None

18
             Priority tax creditors may not take any collection action against Debtor so long as Debtor is
19
20   not in Material Default in performing its obligations under the Plan. Material Default is defined

21   in Part 9.

22   (d) Priority Rental Deposit Claims.
23
             Debtor will pay claims entitled to priority under section 507(a)(8) in full over time with
24
      interest in equal amortizing payments in accordance with section 511 of the Bankruptcy Code.
25
      Payments will be made when the lease became due and not renewed by the tenants. The last month
26
27    payment deposit shall be applied as the last month rent prior to lease termination. Holders of

28    priority rental deposit claims are not entitled to vote on confirmation of the Plan.

                                                         8
     AMENDED CHAPTER 11 PLAN


     Case: 10-33514          Doc# 116     Filed: 06/12/11      Entered: 06/12/11 18:38:24         Page 8 of
                                                       17
      Name of Creditor             Estimated   Statutory Payment Amount                      Number
 1    (Other than ordinary         Amount      Interest                                      of
 2    course)                      of Claim    Rate                                          Pymts
                                   $2,400
 3    CESAR GARCIA                 (last                   Payment shall be applied as
      6230 LAIRD AVE               month                   last month rentpayment when
 4    Oakland, CA 94605            deposit)    None        lease expired and not renewed     None
                                   $1,850
 5    PATRICK J WALSH              (last                   Payment shall be applied as
      872 BEECHWOOD DR             month                   last month rent payment when
 6
      Daly City, CA 94015          deposit)    None        lease expired and not renewed     None
 7
           Priority Rental Deposit Claims may not take any collection action against Debtor so long as
 8
     Debtor is not in Material Default in performing its obligations under the Plan. Material Default is
 9
10   defined in Part 9.

11                PART 4: EXECUTORY CONTRACTS AND UNEXPIRED LEASES

12   (a) Executory Contracts/Leases Assumed.
13         The Debtor assumes the following executory contracts and/or unexpired leases effective upon
14
     the date of the entry of the order confirming this Plan and shall perform all obligations thereunder,
15
     both pre-confirmation and post-confirmation. Any pre-confirmation arrearage will be paid on the
16
17   Effective Date, unless the parties agree otherwise, or the court finds that a proposed payment

18   schedule provides adequate assurance of future performance. Post-confirmation obligations will be

19   paid as they come due.
20    Name of Lessor/Counterparty                 Property Address or               Lease/Contract
21                                                Description                       Arrears as of
                                                                                    Effective Date
22
                                                  3 Skyline Dr, Daly City, CA
23    Hoan and An Le                              94015 (primary residence)         None
                                                  872 Beechwood Dr, Daly City,
24    Patrick J Walsh                             CA 94015                          None
                                                  6230 Laird Ave, Oakland, CA
25    Cesar Garcia                                94605                             None
                                                  6209 Rodman Ridge Ct, Las
26
      David & Vic Pisani                          Vegas, CA 89131                   None
27                                                6025 Chassington Ave, Las
      Tonya Jackson                               Vegas, NV 89131                   None
28

                                                      9
     AMENDED CHAPTER 11 PLAN


     Case: 10-33514        Doc# 116     Filed: 06/12/11     Entered: 06/12/11 18:38:24        Page 9 of
                                                     17
                                                    9794 W. Mesa Vista Dr, Las
 1    Nyesha Walker                                 Vegas, CA 89148                   None
 2
     (b) Executory Contracts/Leases Rejected.
 3
           The debtor rejects the following executory contracts and/or unexpired leases and surrenders
 4
     any interest in property securing these executory contracts and/or unexpired leases. The Debtor
 5
 6   waives the protection of the automatic stay and allows the affected creditor to obtain possession and

 7   dispose of its collateral, without further order of the court. Upon the date of the entry of the order
 8   confirming this Plan, the Debtor will be conclusively deemed to have rejected all executory contracts
 9
     and/or unexpired leases not previously assumed or listed in paragraph (a) above. A proof of claim
10
     arising from the rejection of an executory contract or unexpired lease must be filed no later than sixty
11
     (60) days after the date of the order confirming this Plan. Claims arising from rejection of executory
12
13   contracts shall be included in Class 2 (general unsecured claims).

14
15    Name of Creditor/Lessor                                              Property Address or
                                                                           Description
16    None                                                                 None

17
18                                     PART 5: DISPUTED CLAIMS

19        Debtor does not dispute any claims.

20                                   PART 6: MEANS OF EXECUTION
21         The Plan will be funded through monthly payments from future income and cash on hand
22
     available to the debtor as of the effective date of the plan. Below is the debtor’s projected income
23
     and expenses.
24
25    INCOME:

26    Current Rental Monthly
27      1. Roommate Rental @ Primary                        $1,400
28       2. Rental 1 (Beechwood)                            $1,850

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     AMENDED CHAPTER 11 PLAN


     Case: 10-33514       Doc# 116      Filed: 06/12/11 Entered: 06/12/11 18:38:24              Page 10 of
                                                     17
 1      3. Rental 2 (Laird)                              $2,400

 2      4. Rental 3 (Rodman Ridge, LV)                   $1,800
        5. Rental 4 (Chessington, LV)                    $2,996
 3
         6. Rental 5 (Mesa Vista, LV)                    $2,126
 4    Current 1099 Income (Hardwood
      Floor Complete, Inc’s fixed payment
 5    per month)                                         $2,500
 6
      Total Income                                      $15,072
 7
      PROJECTED EXPENSES BELOW
 8
      Projected Mortgage for: 3 Skyline
 9    Blvd, Daly City, CA (Primary
      Residence)                                                      ($2,552)
10    Taxes                                                             ($752)
11    Insurance                                                          ($65)
      Sub-total (Primary Residence)                                                   ($3,369)
12
      Projected Mortgage for: 872
13    Beechwood Dr, Daly City, CA (Rental
      1)                                                              ($1,470)
14
      Taxes                                                             ($450)
15    Insurance                                                          ($55)
      Sub-total (Rental 1)                                                            ($1,975)
16
      Projected Mortgage for: 6230 Laird
17    Ave, Oakland CA (Rental 2)                                      ($1,584)
      Taxes                                                             ($292)
18
      Insurance                                                          ($33)
19    Sub-total (Rental 2)                                                            ($1,908)
20    Projected Mortgage for: 6209
      Rodman Ridge, LV (Rental 3)                                     ($1,444)
21    Torrey Pine Ranch HOA                                              ($66)
22    Taxes                                                             ($292)
      Insurance                                                          ($33)
23    Sub-total (Rental 3)                                                            ($1,835)
24    Projected Mortgage for: 6205
      Chassington, LV (Rental 4)                                      ($1,726)
25    HOA                                                                ($25)
26    Taxes                                                             ($292)
      Insurance                                                          ($33)
27    Sub-total (Rental 4)                                                            ($2,076)
28

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     AMENDED CHAPTER 11 PLAN


     Case: 10-33514       Doc# 116      Filed: 06/12/11 Entered: 06/12/11 18:38:24   Page 11 of
                                                     17
 1    Projected Mortgage for: 9794 Mesa
      Vista Dr, LV (Rental 5)                                              ($1,033)
 2    Shadow Mountain Ranch HOA                                               ($23)
      Taxes                                                                  ($250)
 3
      Insurance                                                               ($33)
 4    Sub-total (Rental5)                                                                     ($1,339)
 5    Personal Expenses
      Electricity and Heat Fuel                                               ($80)
 6    Water and Sewer                                                         ($30)
 7    Telephone                                                               ($30)
      Cell phone                                                              ($80)
 8    Food                                                                   ($300)
 9    Transportation                                                         ($300)
      Health Insurance (paid by corporation)                                   (00)
10
      Auto Insurance                                                         ($150)
11    Total Personal Expenses                                              ($1,320)           ($1,320)

12    Repairs and Deferred Maintenance of
      Properties/Vacancy                                                     ($556)
13    US Trustee's Fee                                                       ($108)
      Sub-total:                                                             ($664)             ($664)
14
      TOTAL ESTIMATED EXPENSES                                                               ($14,136)
15
      Average Monthly Income:                                 $15,072
16
      Monthly Income:                                                                         $15,072
17    Disposable Income                                                                          $936
      Proposed Monthly Plan Payment                                                              $913
18
19         As of February 28, 2011, the debtor had cash on hand in the amount of $36,139 and expects

20   to have at least this sum as of the effective date of the plan.
21               PART 8: DISCHARGE AND OTHER EFFECTS OF CONFIRMATION
22
     (a) Discharge.
23
           As debtor is an individual, unless after notice and a hearing the court orders otherwise for
24
     cause, confirmation of the plan will not discharge any debt provided for in the plan until the court
25
26   grants a discharge on completion of all payments under the plan;

27
28

                                                         12
     AMENDED CHAPTER 11 PLAN


     Case: 10-33514        Doc# 116       Filed: 06/12/11 Entered: 06/12/11 18:38:24         Page 12 of
                                                       17
     Alternatively, at any time after the confirmation of the plan, and after notice and a hearing, the court
 1
 2   may grant a discharge to the debtor even if he has not completed all payments under the plan if—

 3         (i)      the value, as of the effective date of the plan, of property actually distributed under the
 4                  plan on account of each allowed unsecured claim is
 5
           (ii)     not less than the amount that would have been paid on such claim if the estate of the
 6
                    debtor had been liquidated under chapter 7 on such date; and
 7
          (ii) modification of the plan under section 1127 is not practicable.
 8
 9         When the debtor applies for a final discharge, the debtor will provide an accounting to all

10   interested parties as to the payments that have been made under the plan.

11          Prior to the application for a final discharge, the debtor will request entry of a final decree as
12
     soon as is feasible which may occur after the initial payments to the creditors have been made.
13
     (b) Vesting of Property.
14
           On the Effective Date, all property of the estate will vest in the reorganized Debtor pursuant to
15
16   § 1141(b) of the Code free and clear of all claims and interests except as provided in this Plan,

17   subject to revesting upon conversion to chapter 7 as provided in Part 9(f) below, provided that the

18   vesting of said property will be without prejudice and will not act as a bar to a post confirmation
19   motion to convert this case to one under chapter 7 by any party-in-interest on any appropriate
20
     grounds.     The granting of such motion will revest all of the Debtor’s property not already
21
     administered into the chapter 7 estate.
22
23    (a) Plan Creates New Obligations.

24          Except as provided in Part 9, paragraph (e), the obligations to creditors that Debtor undertakes

25   in the confirmed Plan replace those obligations to creditors that existed prior to the Effective Date of
26   the Plan. Debtor’s obligations under the confirmed Plan constitute binding contractual promises that,
27
     if not satisfied through performance of the Plan, create a basis for an action for breach of contract
28

                                                         13
     AMENDED CHAPTER 11 PLAN


     Case: 10-33514        Doc# 116      Filed: 06/12/11 Entered: 06/12/11 18:38:24               Page 13 of
                                                      17
     under California law. To the extent a creditor retains a lien under the Plan, that creditor retains all
 1
 2   rights provided by such lien under applicable non-Bankruptcy law.

 3          PART 9: REMEDIES IF DEBTOR DEFAULTS IN PERFORMING THE PLAN
 4   (a) Automatic Stay Vacated.
 5
           The automatic stay of section 362(a) of the Bankruptcy Code terminates as of the Effective
 6
     Date of the Plan.
 7
      (b) Creditor Action Restrained.
 8
 9         The confirmed Plan is binding on every creditor whose claims are provided for in the Plan.

10   Therefore, notwithstanding paragraph (a) above, a creditor may not take any action to enforce either

11   the pre-confirmation obligation or the obligation due under the Plan, so long as Debtor is not in
12
     Material Default under the Plan, as defined in paragraph (c) below.
13
      (c) Material Default Defined.
14
            If Debtor fails to make any payment required under the Plan, or to perform any other
15
16    obligation required under the Plan, for more than 10 calendar days after the time specified in the

17    Plan for such payment or other performance, the affected creditor may serve upon Debtor and

18    Debtor’s attorney (if any) a written notice of Debtor’s default. If Debtor fails within 20 calendar
19    days after the date of service of the notice of default either: (i) to cure the default; or (ii) to obtain
20
      from the court an extension of time to cure the default, or a determination that no default occurred,
21
      then Debtor is in Material Default under the Plan.
22
23    (d) Remedies Upon Material Default.

24          Upon Material Default, an affected creditor may:

25           (i)     Take any actions permitted under applicable nonBankruptcy law to enforce the
26                   obligation due the affected creditor under the Plan, and may accelerate the time for
27
28

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     AMENDED CHAPTER 11 PLAN


     Case: 10-33514        Doc# 116      Filed: 06/12/11 Entered: 06/12/11 18:38:24                Page 14 of
                                                      17
                    performance of all payments and other performance due to the creditor over the
 1
 2                  course of the Plan and not yet performed at the time of the Material Default; or

 3          (ii)    File and serve a motion to convert the case to one under chapter 7.
 4    (e) Claims not Affected by Plan.
 5
            Upon confirmation of the Plan, any creditor whose claims are left unimpaired under the Plan
 6
      may, notwithstanding paragraphs (a), (c), and (d) above, immediately exercise all of its contractual,
 7
      legal, and equitable rights, except rights based on default of the type that need not be cured under
 8
 9    section 1124(2)(A) and (D).

10    (f) Effect of Conversion to Chapter 7.

11           If the case is at any time converted to one under chapter 7:
12
             (i)    All property of the Debtor as of the date of conversion, whether acquired pre-
13
                    confirmation or post-confirmation, shall vest in the chapter 7 bankruptcy estate; and
14
             (ii)   All creditors, whether their claims arose pre-confirmation or post-confirmation, are
15
16                  prohibited from taking action against the chapter 7 bankruptcy estate or property of

17                  the estate by section 362 of the Bankruptcy Code.

18    (g) Retention of Jurisdiction.
19           This court shall retain jurisdiction over proceedings: (i) to determine whether Debtor has
20
          defaulted in performance of any Plan obligation; (ii) to determine whether the time for
21
          performing any Plan obligation should be extended; (iii) to determine whether the case should
22
23        be converted to one under chapter 7 (and proceedings following any such conversion); (iv) to

24        determine whether Debtor is in Material Default; and (v) any enforcement action permitted

25        under paragraph (d)(1) of Part 10, above.
26                                  PART 10: GENERAL PROVISIONS
27
     (a) Effective Date of Plan.
28

                                                       15
     AMENDED CHAPTER 11 PLAN


     Case: 10-33514       Doc# 116      Filed: 06/12/11 Entered: 06/12/11 18:38:24             Page 15 of
                                                     17
           The Effective Date of the Plan is the eleventh business day following the date of the entry of
 1
 2   the order of confirmation, if no notice of appeal from that order has been filed. If a notice of appeal

 3   has been filed, the Plan proponent may waive the finality requirement and put the Plan into effect,
 4   unless the order confirming the Plan has been stayed. If a stay of the confirmation order has been
 5
     issued, the Effective Date will be the first business day after that date on which no stay of the
 6
     confirmation order is in effect, provided that the confirmation order has not been vacated.
 7
     (b) Cramdown.
 8
 9         Pursuant to section 1129(b) of the Bankruptcy Code, Debtor reserves the right to seek

10   confirmation of the Plan notwithstanding the rejection of the Plan by one or more classes of creditors.

11   (c) Severability.
12
           If any provision in the Plan is determined to be unenforceable, the determination will in no
13
     way limit or affect the enforceability and operative effect of any other provision of the Plan.
14
     (d) Binding Effect.
15
16          The rights and obligations of any entity named or referred to in the Plan will be binding upon,

17    and will inure to the benefit of the successors or assigns of such entity.

18   (e) Captions.
19        The heading contained in the Plan are for convenience of reference only and do not affect the
20
     meaning or interpretation of the Plan.
21
     (f) Controlling Effect.
22
23         Unless a rule of law or procedure is supplied by federal law (including the Code or the Federal

24   Rules of Bankruptcy Procedure), the laws of the State of California govern the Plan and any

25   agreements, documents, and instruments executed in connection with the Plan, except as otherwise
26   provided in the Plan.
27
     (g) Duration of Plan.
28

                                                        16
     AMENDED CHAPTER 11 PLAN


     Case: 10-33514          Doc# 116    Filed: 06/12/11 Entered: 06/12/11 18:38:24                Page 16 of
                                                      17
           The debtor’s plan will take approximately 360 months from the effective date of the plan to be
 1
 2   completed unless, for cause, a longer period is necessary. However, payments to the unsecured

 3   creditors will take only approximately 72 months to complete.
 4   (h) Prepayment;
 5
           Debtor shall have the privilege of prepayment in any amount at any time as to any class of
 6
     creditors (but not disproportionately as to any creditor within any class).
 7
     (i) Payment of trustee fee and filing of quarterly reports.
 8
 9         The debtor will continue to pay the U. S. Trustee the quarterly fees and file his post-

10   confirmation reports until entry of the final decree, dismissal, closure or conversion of its case.

11   (j) Appointment of disbursing agent
12
           The debtor will act as his own disbursing agent for this plan.
13
      DATED: June 7, 2011
14                                                                              /s/Peter Nguyen
                                                                             PETER NGUYEN, Debtor
15
            DATED: June 7, 2011
16         /s/ Michael H. Luu
17         MICHAEL H. LUU,
           Attorney for Debtor
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     AMENDED CHAPTER 11 PLAN


     Case: 10-33514       Doc# 116       Filed: 06/12/11 Entered: 06/12/11 18:38:24               Page 17 of
                                                      17
